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                                           7                      IN THE UNITED STATES DISTRICT COURT
                                           8                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           9
                                          10   JOHN ARMSTRONG, et al.,                              No. C 94-2307 CW
For the Northern District of California




                                          11                Plaintiffs,
    United States District Court




                                          12        v.                                              ORDER REGARDING
                                                                                                    PLAINTIFFS'
                                          13   ARNOLD SCHWARZENEGGER, et al.,                       OCTOBER 2, 2007
                                                                                                    LETTER TO THE
                                          14                Defendants.                             COURT
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                                          17        On October 2, 2007, Plaintiffs filed a letter to the Court
                                          18   seeking an order codifying their proposal for monitoring whether
                                          19   class members housed in out-of-state prison facilities are
                                          20   receiving appropriate disability accommodations.         Civil Local Rule
                                          21   7-1 requires that parties file a properly noticed motion for "[a]ny
                                          22   written request to the Court for an order."        Plaintiffs shall file
                                          23   a properly noticed motion in support of their request by October
                                          24   15, 2007.1    That motion shall include argument in support of their
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                                                     Defendants have filed a letter to the Court in which they
                                          27   state that they "move to strike" Plaintiffs' letter. Although
                                               Defendants' request is made moot by this order, Defendants are also
                                          28   reminded that they must file a properly noticed motion when seeking
                                                 Case 4:94-cv-02307-CW Document 1206 Filed 10/10/07 Page 2 of 2



                                           1   proposal as well as an estimate of the costs associated with their
                                           2   proposal.   See August 16, 2007 Hearing Transcript at 27.
                                           3   Defendants shall file an opposition, including any argument in
                                           4   support of their counter-proposal by October 22, 2007.             Plaintiffs
                                           5   may file any reply by October 26, 2007.        If the Court has questions
                                           6   regarding the proposals, they will be raised at the October 30,
                                           7   2007 status conference.     Otherwise, the matter will be submitted on
                                           8   the papers.
                                           9        IT IS SO ORDERED.
                                          10
For the Northern District of California




                                          11   Dated: 10/10/07
                                                                                           CLAUDIA WILKEN
    United States District Court




                                          12                                               United States District Judge
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                                          27   an order from the Court.
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